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Opinion issued August 31, 2023




                                      In The

                               Court of Appeals
                                      For The

                          First District of Texas
                             ————————————
                               NO. 01-20-00169-CV
                            ———————————
                            HIRA AZHAR, Appellant
                                         V.
                  MOHAMMAD ALI CHOUDHRI, Appellee


                    On Appeal from the 312th District Court
                             Harris County, Texas
                       Trial Court Case No. 2015-36895


                          MEMORANDUM OPINION

      In June 2015, Hira Azhar petitioned for divorce from Mohammad Ali

Choudhri in a Harris County district court. To his answer, Choudhri attached a

Pakistani divorce decree and sought dismissal of Azhar’s divorce action for want of

jurisdiction based on the parties’ purported earlier divorce in Pakistan. Following a
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bench trial, the trial court entered a final judgment recognizing the Pakistani divorce

as valid, dismissing Azhar’s divorce action for want of jurisdiction, and dismissing

her subsequent post-dissolution property division claims with prejudice.

      Azhar raises two issues on appeal. First, she contends that the trial court

abused its discretion in granting comity to the Pakistani divorce and dismissing her

divorce petition because she was not personally served and did not receive proper

notice of the Pakistani divorce. Second, she argues that the trial court erred in

applying Pakistani law to her claims for division of the community property estate

and abused its discretion in dismissing those claims.

      We affirm the trial court’s judgment.

                                    Background

The Parties’ Relationship

      Azhar and Choudhri were married in Rawalpindi, Pakistan, in December

2008. The couple signed a Nikkah Nama, or marriage contract, registering the

marriage in Pakistan in January 2009. At that time, Azhar lived in Rawalpindi and

Choudhri lived in Houston, Texas. After obtaining her visa, Azhar traveled to the

United States and joined Choudhri in Houston in 2010, where the couple lived

together as husband and wife.

      In 2012, Hira returned to Pakistan to renew her visa. In January 2013, while

Azhar was still in Pakistan, Choudhri initiated talaq, or divorce proceedings,


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pursuant to the Muslim Family Law Ordinance of 1961 (1961 Ordinance). A local

arbitration council in Rawalpindi issued a Divorce Certificate on May 22, 2013.

Azhar Initiates Proceeding in Islamabad

      On May 30, 2015, Azhar filed a suit for declaration and permanent injunction

in civil court in Islamabad, Pakistan, challenging the validity of the 2013 Divorce

Certificate (Islamabad suit). The Civil Judge, 1st Class-West, Islamabad, issued an

order granting a temporary injunction and suspending the Divorce Certificate until

the next hearing.

      Choudhri appealed the order on the grounds that the Islamabad court did not

have jurisdiction over the case because the marriage took place in Rawalpindi. The

Additional District Judge (West), Islamabad, suspended the challenged order until

the next hearing. Azhar withdrew the Islamabad suit and Civil Judge, 1st Class-

West, Islamabad, issued an order dismissing the suit, noting Azhar “may file a fresh

suit upon fresh cause of action.”

Azhar Files Divorce Petition in Harris County

      After returning to Houston, Azhar filed a petition for divorce in Harris County

district court on June 25, 2015. She sought a just and right division of the community

property in the event the parties did not reach an agreement regarding its division.

Azhar also asserted claims for fraud on the community property estate, breach of

fiduciary duty, and waste, and sought a temporary restraining order. Choudhri


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answered asserting various defenses, including res judicata, and moved to dismiss

Azhar’s suit on the grounds that a valid divorce had been granted in Pakistan.

Choudhri later filed an amended plea in abatement and motion to dismiss the divorce

petition as a matter of comity, among other grounds.

Comity Hearing

      The trial court held an evidentiary hearing on Choudhri’s amended plea and

motion to dismiss on January 29, 2016, at which the following evidence was

presented:

      Kurram Hashmi, an attorney in Islamabad, testified that Choudhri retained

him to obtain a Divorce Certificate in Pakistan. Hashmi testified that the West

Pakistan Rules under the 1961 Ordinance govern family law practice in Pakistan. He

testified that the local arbitration council is the administrative body that registers

marriages and divorces.

      Hashmi testified that he complied with the requirements of Section 7 of the

1961 Ordinance, “Talaq,” by filing notice (Section 7 Notice) of the dissolution of

the marriage with the arbitration council and sending a copy of the notice to Azhar’s

residence in Rawalpindi. He testified that once the arbitration council receives a

Section 7 Notice, it sends notices to the parties advising them that it received the

notice and that the parties should prepare for reconciliation. If reconciliation is not

achieved, the divorce becomes effective ninety days after the Section 7 Notice is


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received by the council. Hashmi testified that he mailed the Section 7 Notice to

Azhar at her residence as well as served her by courier and publication. Hashmi

testified that Choudhri and Azhar’s divorce became final on May 22, 2013.

      Hashmi testified that there was no division of marital assets in Pakistan. He

testified that neither the Pakistan arbitration council nor the Pakistan courts has

authority to divide marital property. He testified that a Pakistan court does not have

the authority to award any assets outside of Pakistan or to review a property division.

      Following the comity hearing, the trial court denied Choudhri’s amended plea

in abatement and motion to dismiss based on comity.1 In its July 3, 2017 order, the

trial court found that “enforcement of the certificate of divorce issued in Pakistan

would be contrary to Texas public policy and would, if enforced, violate Hira

Azhar’s basic right to due process.”

Subsequent Pakistan Court Rulings

      In July 2015, following dismissal of her Islamabad suit, Azhar filed suit for

declaration and permanent injunction in Rawalpindi civil court, challenging the

validity of the Divorce Certificate. The Civil Judge, 1st Class, Rawalpindi, issued an

order granting a temporary injunction and suspending the Divorce Certificate until

the next hearing. Choudhri appealed the order. The appellate court suspended the




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      Then-presiding Judge David Farr conducted the comity hearing.
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civil judge’s order, returned the case to the Rawalpindi civil court, and directed the

civil judge to decide the matter.

      After conducting a multi-day hearing, Civil Judge, 1st Class, Rawalpindi,

issued an order dismissing Azhar’s suit for lack of jurisdiction. The order stated, in

relevant part:

             Section 5 of Family Courts Act, 1964 (the Act, 1964) confers
      exclusive jurisdiction upon Family Court to deal with and adjudicate
      upon the family matters as detailed in the Schedule appended to it. “Part
      1” of the said Schedule enlists nine items to be entertained and decided
      exclusively by the Family Court. Item No. 1 pertains to dissolution of
      marriage.
                                        ....

             [T]he matter is relatable to the question of dissolution of
      marriage between the parties . . . hence, said matter within the meaning
      of Section 5 of the Act, 1964 read with “Part 1” of Schedule annexed
      thereto is triable exclusively by Family Court, and Civil/this court has
      no jurisdiction whatsoever to entertain the said matter.

The West Pakistan Family Courts Act, 1964, referred to in the civil judge’s order,

defines the term “Family Court” as “a Court constituted under this Act.”2

      Azhar filed a constitutional writ of petition in the Lahore High Court, Single

Bench, Rawalpindi (Lahore Single Bench). On February 22, 2017, the Lahore Single

Bench ruled in Azhar’s favor and declared the Divorce Certificate void ab initio. In

its order, the court noted that “[a]s far as objection of [Choudhri’s] counsel with

regard to filing of civil suits on the same subject matter is concerned, it is an admitted


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      It is undisputed that Azhar did not file a petition in the family courts of Pakistan.
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fact that the civil court has not adjudicated upon the matter on jurisdictional flaw as

such on that basis the petitioner cannot be non-suited.”

      Choudhri appealed the order. The Lahore High Court, Double Bench,

Rawalpindi (Lahore Double Bench) concluded that the court “cannot delve into

factual controversy while exercising constitutional jurisdiction” and “[t]he exercise

of constitutional jurisdiction by the learned Single Judge in Chamber was thus

unwarranted.” It noted that “the matter in issue falls exclusively within the domain

of Family Court, [established under the Family Courts Act, 1964].”3 The Lahore

Double Bench observed that Azhar “may seek her remedy before the Family Court

as set forth in the January 15, 2016 order of the Civil Judge, 1st Class, Rawalpindi.”

The Lahore Double Bench set aside the lower court’s order and dismissed Azhar’s

constitutional writ of petition on October 31, 2017.

      Azhar appealed the Lahore Double Bench order. On November 3, 2018, the

Supreme Court of Pakistan affirmed the Lahore Double Bench ruling that it lacked

jurisdiction to resolve the factual controversy at issue and dismissed Azhar’s writ of

petition. The Court noted that “[n]o illegality or perversity has been pointed out

warranting interference in the impugned judgment.”




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      As noted above, the West Pakistan Family Courts Act, 1964, defines the term
      “Family Court” as a court in Pakistan.
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Trial Court Dismisses Azhar’s Petition for Divorce

      In light of the Pakistan Supreme Court’s order, Choudhri again moved to

dismiss Azhar’s divorce action. Following a hearing, the trial court orally announced

that it intended to grant, in part, Choudhri’s motion to dismiss and allow Azhar leave

to amend her petition to assert a claim for division of community property. On July

3, 2019, Azhar filed her fifth amended petition asserting a claim for post-dissolution

division of undivided community assets pursuant to Chapter 9 of the Family Code

and, alternatively, a claim for partition under Texas Property Code Chapter 23.

      On August 9, 2019, the trial court entered an order, stating, in relevant part:

      [T]he Supreme Court of Pakistan (the highest court in Pakistan), by
      Order dated November 3, 2018, after a challenge by Hira Azhar[,]
      upheld a Divorce Certificate between the parties issued May 22, 2013
      based upon a divorce deed dated January 30, 2013, it is therefore

            ORDERED, that ALI CHOUDHRI’S Motion to Dismiss is
      granted only as to the extent that the Court recognizes that the parties
      were divorced in Pakistan as of May 22, 2013.

             IT IS FURTHER ORDERED, that, consistent with Ashfaq v.
      Ashfaq, 467 S.W.3d 539, 544 (Tex. App.—Houston [1st Dist.] 2015,
      no pet.) (trial court properly dismissed for lack of jurisdiction where
      parties had divorced before filing for divorce in Texas), Hira Azhar’s
      Petition for Divorce is dismissed for want of jurisdiction.

That same day, the trial court held a status hearing during which it framed the

remaining issue before the court as follows: Did the Pakistani proceedings

determining the validity of the 2013 Divorce Certificate dispose of Azhar’s property

division claims?
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Hearing on Azhar’s Property Division Claims

       The trial court held a bench trial on Azhar’s property division claims on

August 23, 2019 and September 3, 2019. Two witnesses testified: Choudhri’s expert

witness, Mohammed Akram Sheikh, a Senior Advocate of the Supreme Court of

Pakistan, and Azhar.

       Sheikh testified that Order XXIII of the Pakistan Code of Civil Procedure

(CCP), 1908, a copy of which was admitted at trial, provides that a party who

withdraws her suit “without reservation” cannot later institute a new suit. Sheikh

likened “without reservation” to “with prejudice” under Texas law. He testified that

a party must also obtain formal permission from the court to institute a new suit and

that failure to obtain permission precludes the party from instituting a new suit.

Sheikh testified that the dismissal order from the Islamabad court noting that Azhar

withdrew her suit does not reflect a reservation to institute a new suit or formal

permission from the court to do so. Sheikh testified that the Lahore Double Bench

referred to Azhar’s withdrawal of her Islamabad suit in its judgment, stating that “[]it

is manifestly clear . . . that the suit questioning the validity of the divorce certificate

was withdrawn without seeking formal permission of the court as required under

Order XXIII of the Code of Civil Procedure (Act 5 of 1908) (hereinafter referred as

“CPC”). The respondent was thus precluded to bring any fresh suit/proceedings to

this effect in view of bar contained on Order XXIII Rule (1) and (3) CPC.” Sheikh


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testified that Azhar could have asserted her property division claims in the Pakistan

civil courts in which she filed suit. Sheikh testified that when Azhar withdrew her

Islamabad suit without reservation, she was precluded from later bringing the claims

asserted or which could have been asserted. Sheik further testified that, under Order

II of the Pakistan CCP, a party who brings suit must assert all possible claims in the

suit and is prohibited from “splitting” claims.

      Sheikh testified that under the Pakistani “default rule” as described in Aleem

v. Aleem, 931 A.2d 1123 (Md. Ct. Spec. App. 2007), aff’d, 947 A.2d 489 (Md. 2008),

property titled in the husband’s name is his property and property titled in the wife’s

name is her property. He testified that the Pakistan Constitution protects the rights

of Pakistan citizens wherever they are in the world. He testified that Azhar could

have asserted any property claims she had in the proceedings she initiated in the

Pakistan courts challenging the Divorce Certificate as those courts had jurisdiction

to entertain her property division claims. He testified that a Pakistan citizen who

lives in Texas could assert a claim for the division of community property in a

Pakistan court and the Pakistan court would recognize and enforce Texas law.

Sheikh testified that res judicata principles in Pakistani law are identical to those in

American law.

      Azhar testified that the only relief she sought in Pakistan was a declaration

that the 2013 Divorce Certificate was void and that it be suspended. She testified


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that she did not seek money, financial support, or property at any time during the

Pakistani proceedings. Azhar further testified that she never sought relief in the

Pakistan family courts.

Trial Court’s Final Judgment

      On November 22, 2019, the trial court entered a final judgment dismissing

Azhar’s newly asserted claims in her fifth amended petition with prejudice, ordering

that its August 9, 2019 order be made final and that Azhar take nothing against

Choudhri. On September 27, 2020, the trial court entered the following findings of

fact and conclusions of law:

      FINDINGS OF FACT

      1. Azhar commenced this case on June 25, 2015.

      2. Prior to that time, Choudhri had initiated and concluded a divorce
      from Azhar in Pakistan (the “Pakistan Divorce”).

      3. Before filing this case, Azhar sought an order from the courts in
      Pakistan seeking to nullify the effect of the Pakistan Divorce.

      4. As this case was pending, Azhar pursued claims in the courts of
      Pakistan contesting the validity of the Pakistan Divorce and ultimately
      appealed to the Supreme Court of Pakistan.

      5. On November 3, 2018, the Supreme Court of Pakistan rejected
      Azhar’s appeal and affirmed the lower court’s ruling concluding Azhar
      could not set aside the prior Pakistan Divorce and concluding that
      Azhar’s prior filing and dismissal of claims resulted in the claims
      arising out of and relating to Azhar’s attack on the Pakistan divorce
      being dismissed with prejudice.



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 6. Choudhri then moved to dismiss this case on grounds this Court had
 no jurisdiction to address Azhar’s claims seeking a divorce, citing
 Ashfaq v. Ashfaq, 467 S.W.3d 539 (Tex. App.—Houston [1st Dist.]
 2015) and the final ruling of the Supreme Court of Pakistan.

 7. This Court considered the motion and entered an Order dated August
 9, 2019 granting the motion and concluding that the Court had no
 jurisdiction to entertain Azhar’s Texas Family Code Chapter 6 suit for
 dissolution of marriage because the parties were already divorced.

 8. Before the August 9, 2019 order was signed, Azhar amended her
 petition to assert, in the alternative, claims under Texas Family Code
 Chapter 9 or Texas Property Code Chapter 23 contending that the
 parties jointly owned assets that were not addressed in any prior
 judgment (the “Omitted Asset Claims”).

 9. The Court directed the parties to submit briefing on the question of
 whether there were assets omitted from the Pakistan court proceedings
 and whether this Court could entertain the Omitted Asset Claims, given
 the various proceedings in the Pakistan courts.

 10. The Court heard evidence at hearings on August 23, 2019 and
 September 3, 2019 and took the matter under advisement.

 11. Based on the evidence admitted, the Court finds that:

    a. Azhar filed claims in the courts of Pakistan that had the
    jurisdiction to consider her Omitted Asset Claims.

    b. Azhar did not pursue her Omitted Asset Claims in the Pakistan
    courts although she had the right to do so and although the
    Pakistan courts had the jurisdiction to consider those claims.

    c. Azhar’s claims in the Pakistan courts contested the validity of
    the Pakistan Divorce and those claims were rejected by the courts
    in Pakistan and ultimately affirmed by the Pakistan Supreme
    Court.




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    d. This Court must give deference to the ruling of the Pakistan
    Supreme Court and its decision in the Azhar case [is] binding on
    this Court.

    e. Pakistan, like U.S. courts, follows principles of res judicata
    and collateral estoppel.

    f. Pakistan’s law of res judicata and its corollary rules bar claim
    splitting. A party may not pursue some claims arising out of a
    transaction or occurrence to conclusion and then later bring other
    claims arising out of the same transaction or occurrence.

    g. Azhar was obligated to bring all claims against Choudhri or be
    barred from asserting omitted claims in subsequent proceedings.

    h. Azhar could have pursued, but did not, her Omitted Asset
    Claims in the proceedings she initiated in Pakistan. She could not
    properly split her claims. The final adjudication by the Pakistan
    Supreme Court bars the Omitted Asset Claims.

    i. Additionally, Azhar commenced and then dismissed causes of
    action in Pakistan trial courts. The order dismissing those claims
    did not reserve the claims.

    j. The law of Pakistan provides that the dismissal of a claim
    without reservation amounts to a dismissal of claims asserted (or
    which could have been asserted) with prejudice.

    k. The Lahore High Court in Pakistan expressly addressed the
    effect of Azhar’s filing of claims and dismissal without
    reservation, noting that the dismissal effectively barred her
    subsequent claims arising out of the marriage and the Pakistan
    Divorce.

    l. The Pakistan Supreme Court affirmed the Lahore High Court
    judgment.

    m. Azhar is bound by the rulings of the Lahore High Court and
    the Pakistan Supreme Court and this Court is bound by those
    rulings as well.
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      n. The courts of Pakistan provide due process to litigants and
      Azhar’s due process rights were observed in the various Pakistan
      court proceedings.

      o. This Court is required to give deference to the Pakistan
      Supreme Court determination under principles of comity.

CONCLUSIONS OF LAW

   1. This Court had no jurisdiction over Azhar’s Texas Family Code
   Chapter 6 suit for dissolution of marriage in light of the prior Pakistan
   divorce. As noted by the Honorable Justice Bland, writing for the First
   Court of Appeals:

      A valid marriage must exist for a trial court to have subject matter
      jurisdiction over a suit for the spouses’ divorce. Gray v. Gray,
      354 S.W.2d 948, 949 (Tex. Civ. App.—Houston 1962, writ
      dism’d) (“A suit for divorce presumes a valid marriage.”). If a
      marriage previously was legally dissolved, then the court lacks
      subject matter jurisdiction to again dissolve that marriage. See
      Ashfaq v. Ashfaq, 467 S.W.3d 539, 544 (Tex. App.—Houston
      [1st Dist.] 2015, no pet.) (trial court properly dismissed for lack
      of jurisdiction where parties had divorced before filing for
      divorce in Texas); Fidalgo v. Galan, No. 13-01-469-CV, 2003
      WL 21982186, at *3 (Tex. App.—Corpus Christi Aug. 21, 2003,
      no pet.) (not designated for publication) (affirming dismissal of
      divorce action, holding that “subject matter jurisdiction was
      lacking because there was no live controversy,” where trial court
      found that “a previous divorce action had been filed by
      [appellant] in Mexico that resulted in the issuance of a divorce
      decree and orders and relief identical to the relief sought in the
      Texas divorce action”).

   Fuentes v. Zaragoza, 555 S.W.3d 141, 153-4 (Tex. App.—Houston [1st
   Dist.] 2018).

   2. The Pakistan Supreme Court’s decision on the issues asserted there
   by Azhar, or which could have been asserted there by Azhar, are
   deserving of respect or comity in this case. See Ashfaq, id.
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      3. The Pakistan courts had jurisdiction to consider and decide Azhar’s
      Omitted Asset Claims but Azhar did not assert those claims.

      4. Azhar’s dismissal of claims in Pakistan was with prejudice as to
      claims asserted or which could have been asserted, including the
      Omitted Asset Claims. This Court concludes that the dismissal with
      prejudice bars the Omitted Asset Claims in this Court.

      5. Pakistan’s law barring claim splitting bars Azhar’s Omitted Asset
      Claims because of the final decision in the Pakistan Supreme Court.
      This Court concludes that res judicata principles bar the Omitted Asset
      Claims in the courts of Pakistan and that the same effect should be given
      those proceedings in this Court.

      Both parties moved to modify or amend the judgment. The trial court did not

rule on the motions, which were overruled by operation of law. Azhar appealed, and

Choudhri cross-appealed.

                               Standard of Review

      In an appeal from a bench trial, we review a trial court’s conclusions of law

as legal questions, de novo, and will uphold them on appeal if the judgment can be

sustained on any legal theory supported by the evidence. BMC Software Belgium,

N.V. v. Marchand, 83 S.W.3d 789, 794 (Tex. 2002); In re Moers, 104 S.W.3d 609,

611 (Tex. App.—Houston [1st Dist.] 2003, no pet.). A trial court has no discretion

in determining what the law is and applying the law to the facts. Tenaska Energy,

Inc. v. Ponderosa Pine Energy, LLC, 437 S.W.3d 518, 523 (Tex. 2014). Although a

trial court’s conclusions of law are not reviewable for factual sufficiency, we may

review the trial court’s legal conclusions drawn from the facts to determine whether
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the conclusions are correct. BMC Software, 83 S.W.3d 794. If we determine that a

conclusion of law is erroneous, but that the trial court nevertheless rendered the

proper judgment, the error does not require reversal. Id.

      The trial court’s findings of fact in a bench trial have the same weight as a

jury verdict. See Catalina v. Blasdel, 881 S.W.2d 295, 297 (Tex. 1994); Jackson v.

Gould, No. 01-16-00203-CV, 2016 WL 5957214, at *2 (Tex. App.—Houston [1st

Dist.] Oct. 13, 2016, no pet.) (mem. op.). We review a trial court’s findings of fact

for legal and factual sufficiency of the evidence by the same standards applied to a

jury verdict. See Ortiz v. Jones, 917 S.W.2d 770, 772 (Tex. 1996); see also City of

Keller v. Wilson, 168 S.W.3d 802, 827–28 (Tex. 2005) (describing legal sufficiency

standard of review); Cain v. Bain, 709 S.W.2d 175, 176 (Tex. 1986) (describing

factual sufficiency standard of review). The trial court in a bench trial is the sole

judge of witnesses’ credibility and the weight to be given to their testimony. Golden

Eagle Archery, Inc. v. Jackson, 116 S.W.3d 757, 761 (Tex. 2003). Because it is the

province of the trial court in a bench trial to resolve conflicting evidence, we must

assume that it resolved all conflicts in accordance with its fact findings. Howeth

Invs., Inc. v. City of Hedwig Vill., 259 S.W.3d 877, 894 (Tex. App.—Houston [1st

Dist.] 2008, pet. denied) (citing City of Keller, 168 S.W.3d at 819–20). A reviewing

court may not impose its own opinion to the contrary. Wise v. Conklin, No. 01-13-




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00840-CV, 2015 WL 1778612, at *3 (Tex. App.—Houston [1st Dist.] Apr. 16, 2015,

no pet.) (mem. op.).

      When findings of fact are filed and unchallenged, “they are binding on an

appellate court unless the contrary is established as a matter of law, or if there is no

evidence to support the finding.” McGalliard v. Kuhlmann, 722 S.W.2d 694, 696

(Tex. 1986); Grupa v. Basset, No. 01-14-00524-CV, 2015 WL 3423541, at *1 (Tex.

App.—Houston [1st Dist.] May 28, 2015, pet. denied) (mem. op.). To determine a

“no evidence” or “matter of law” point we must disregard all evidence contrary to

the trial court’s finding, and if there is any remaining evidence which would support

the verdict or judgment, the trial court’s judgment must be upheld. McGalliard, 722

S.W.2d at 696–97. If, after the removal of all contrary evidence, this court finds an

absence of any evidence which would support the verdict or judgment, a contrary

conclusion to the verdict or judgment is required as a matter of law. Id. at 697.

      “[A]n appellate court will overrule a challenge to fact findings that underpin

a legal conclusion or disposition when other fact findings that also support that legal

conclusion or disposition go unchallenged.” Howeth Invs., 259 S.W.3d at 889 (citing

Britton v. Tex. Dep’t of Crim. Just., 95 S.W.3d 676, 682 (Tex. App.—Houston [1st

Dist.] 2002, no pet.)). “The same result obtains when more than one legal conclusion

independently supports a judgment or ruling, but the appellant challenges only one

of those legal conclusions on appeal.” Id. (citing Britton, 95 S.W.3d at 682). “The


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rules are grounded in the overarching rule that, absent fundamental error, we may

not raise a challenge on an appellant’s behalf when that challenge is absent from its

brief.” Id. (citing Walling v. Metcalfe, 863 S.W.2d 56, 58 (Tex. 1993) (“We have

held repeatedly that the courts of appeals may not reverse the judgment of a trial

court for a reason not raised in a point of error.”)).

                           Family Code Chapter 6 Claim

      In her first issue, Azhar contends that the trial court abused its discretion in

granting comity to the May 22, 2013 Pakistani Divorce Certificate and dismissing

her petition for divorce filed in Texas. She argues that she was denied due process

because she was not personally served with the Divorce Certificate, she did not

receive adequate notice, and notice was only provided by publication five days prior

to the divorce being granted. Choudhri responds that the trial court properly

dismissed Azhar’s Family Code Chapter 6 claim because the parties were already

divorced and therefore the trial court lacked subject matter jurisdiction over her

divorce action. He further argues that this case is controlled by the order of the

Supreme Court of Pakistan and Azhar may not collaterally attack the ruling which

must be recognized under principles of comity and res judicata.

A.    Jurisdiction to Hear Pakistan Divorce

      Subject matter jurisdiction concerns the court’s “power to hear and determine

cases of the general class to which the particular one belongs.” Middleton v. Murff,


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689 S.W.2d 212, 213 (Tex. 1985) (per curiam). Subject matter jurisdiction is

essential for a court to have authority to decide a case; it is not presumed and cannot

be waived or conferred by consent. See Dubai Petroleum Co. v. Kazi, 12 S.W.3d 71,

75 (Tex. 2000); Tex. Ass’n of Bus. v. Tex. Air Control Bd., 852 S.W.2d 440, 443–44

(Tex. 1993); see also Alfonso v. Skadden, 251 S.W.3d 52, 55 (Tex. 2008) (per

curiam) (stating subject matter jurisdiction cannot be waived and can be raised at

any time). Whether a trial court has subject matter jurisdiction is a question of law

subject to de novo review. See Mayhew v. Town of Sunnyvale, 964 S.W.2d 922, 928

(Tex. 1998); Fuentes v. Zaragoza, 555 S.W.3d 141, 153 (Tex. App.—Houston [1st

Dist.] 2018, no pet.).

      Texas law presumes that every marriage is valid. See TEX. FAM. CODE § 1.101

(“[E]very marriage entered into in this state is presumed to be valid unless expressly

made void by Chapter 6 or unless expressly made voidable by Chapter 6 and

annulled as provided by that chapter.”); Fuentes, 555 S.W.3d at 153. The

presumption likewise applies to persons who were married outside Texas, like Azhar

and Choudhri. See TEX. FAM. CODE § 1.103 (“The law of this state applies to persons

married elsewhere who are domiciled in this state.”). A valid marriage must exist for

a trial court to have subject matter jurisdiction over a suit for divorce. Fuentes, 555

S.W.3d at 153 (citing Gray v. Gray, 354 S.W.2d 948, 949 (Tex. App.—Houston

1962, writ dism’d) (“A suit for divorce presumes a valid marriage.”)). If a marriage


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previously was legally dissolved, the court lacks subject matter jurisdiction to again

dissolve that marriage. See id. (citing Ashfaq v. Ashfaq, 467 S.W.3d 539, 544 (Tex.

App.—Houston [1st Dist.] 2015, no pet.) (concluding trial court properly dismissed

for lack of jurisdiction because parties had divorced before filing for divorce in

Texas)); Fidalgo v. Galan, No. 13-01-469-CV, 2003 WL 21982186, at *3 (Tex.

App.—Corpus Christi–Edinburg Aug. 21, 2003, no pet.) (not designated for

publication) (concluding trial court lacked subject matter jurisdiction based on

finding that “a previous divorce action had been filed by [appellant] in Mexico that

resulted in the issuance of a divorce decree and orders and relief identical to the relief

sought in the Texas divorce action”).

B.    Principle of Comity

      In some circumstances, Texas courts may defer to the sovereignty of foreign

nations according to principles of international comity.4 Guimaraes v. Brann, 562

S.W.3d 521, 536 (Tex. App.—Houston [1st Dist.] 2018, pet. denied). “Comity is a

doctrine grounded in cooperation and mutuality.” K.D.F. v. Rex, 878 S.W.2d 589,



4
      Texas Rule of Civil Procedure 308b, “Determining the Enforceability of a Judgment
      or Arbitration Award Based on Foreign Law in Certain Suits Under the Family
      Code,” which became effective January 1, 2018, defines “comity” in Family Code
      cases as “the recognition by a court of one jurisdiction of the laws and judicial
      decisions of another jurisdiction.” TEX. R. CIV. P. 308b. The Rule addresses, among
      other things, the parties’ notice requirements, the trial court’s duty to conduct a
      pretrial conference and a determination hearing, and temporary orders. See id.
      Because this suit was filed before the rule’s effective date, Rule 308b’s procedures
      do not apply to this case.
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593 (Tex. 1994); Guimaraes, 562 S.W.3d at 536. “[I]t is the recognition which one

nation allows within its territory to the legislative, executive or judicial acts of

another nation, having due regard both to international duty and convenience, and to

the rights of its own citizens or of other persons who are under the protection of its

laws.” Gannon v. Payne, 706 S.W.2d 304, 306 (Tex. 1986) (quoting Hilton v. Guyot,

159 U.S. 113, 163–64 (1895)); see Hawsey v. La. Dep’t of Soc. Servs., 934 S.W.2d

723, 726 (Tex. App.—Houston [1st Dist.] 1996, writ denied) (“Comity is a principle

under which the courts of one state give effect to the laws of another state or extend

immunity to a sister sovereign not as a rule of law, but rather out of deference or

respect.”).

      States, however, are not required to give full faith and credit to foreign country

judgments; dismissal based on comity is a matter of discretion. Fuentes, 555 S.W.3d

at 154; Ashfaq, 467 S.W.3d at 541; Acain v. Int’l Plant Servs., LLC, 449 S.W.3d

655, 659 (Tex. App.—Houston [1st Dist.] 2014, pet. denied); see Reading & Bates

Constr. Co. v. Baker Energy Res. Corp., 976 S.W.2d 702, 714–15 (Tex. App.—

Houston [1st Dist.] 1998, pet. denied) (“Texas, like its sister states, is not

constitutionally required to give full faith and credit to the judgments of foreign

countries.”). A trial court may decline to recognize a foreign judgment obtained

without due process. Fuentes, 555 S.W.3d at 154. Recognition of a foreign judgment

obtained in the absence of due process constitutes an abuse of discretion. Id.; Ashfaq,


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467 S.W.3d at 541; see Acain, 449 S.W.3d at 659 (noting trial court abuses its

discretion if it acts arbitrarily, unreasonably, or without regard to guiding legal

principles).

C.    Analysis

      In her brief on appeal, Azhar challenges the trial court’s Finding of Fact No.

11(n): “The courts of Pakistan provide due process to litigants and Azhar’s due

process rights were observed in the various Pakistan court proceedings.” She argues

that the trial court abused its discretion in recognizing the Divorce Certificate and

dismissing her divorce petition because she was not personally served and was only

provided notice five days prior to the divorce by publication in a local circular.

      In its August 9, 2019 order, which was incorporated into its November 22,

2019 final judgment, the trial court noted that “the Supreme Court of Pakistan (the

highest court in Pakistan), by Order dated November 3, 2018, after a challenge by

Hira Azhar[,] upheld a divorce certificate between the parties issued May 22, 2013

based upon a divorce deed dated January 30, 2013.” The court ordered that “Azhar’s

Petition for Divorce is dismissed for want of jurisdiction.” In its Conclusions of Law

Nos. 1 and 2, the trial court stated that “[t]his Court had no jurisdiction over Azhar’s

Family Code Chapter 6 suit for dissolution of marriage in light of the prior Pakistan

divorce” and “[t]he Pakistan Supreme Court’s decision on the issues asserted there

by Azhar, or which could have been asserted there by Azhar, are deserving of respect


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or comity in this case.” In its Findings of Fact No. 11(m) and (o), the trial court

stated that “Azhar is bound by the rulings of the Lahore High Court and the Pakistan

Supreme Court and this Court is bound by those rulings as well,” and “[t]his Court

is required to give deference to the Pakistan Supreme Court determination under

principles of comity.”

      “A party appealing from a nonjury trial in which the trial court made findings

of fact and conclusions of law should direct his attack on the sufficiency of the

evidence at specific findings of fact, rather than at the judgment as a whole.” Teal

Trading & Dev., LP v. Champee Springs Ranches Prop. Owners Ass’n, 534 S.W.3d

558, 581–82 (Tex. App.—San Antonio 2017), aff’d, 593 S.W.3d 324 (Tex. 2020)

(quoting Shaw v. Cnty. of Dall., 251 S.W.3d 165, 169 (Tex. App.—Dallas 2008, pet.

denied)). While Azhar argues at length in her brief that the trial court erred in

granting comity to the Pakistan Divorce Certificate because she was denied due

process by the local arbitration council, she does not directly challenge Conclusions

of Law Nos. 1 and 2 and Findings of Fact No. 11(m) and (o). See Walling, 863

S.W.2d at 58 (noting appellate courts may not raise challenge on appellant’s behalf

when that challenge is absent from its brief). The Pakistan Supreme Court order—

which is the final order in the litigation initiated by Azhar in Pakistan challenging

the validity of the Pakistan divorce—is the controlling ruling in that case. The trial

court’s determination that it lacked jurisdiction over Azhar’s suit for divorce is based


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on its finding that the marriage was previously dissolved in Pakistan as well as the

Pakistan Supreme Court’s order.

      Azhar urges us to consider the fact that the former presiding judge, Judge Farr,

who conducted several evidentiary hearings in the case, denied Choudhri’s earlier

motions to dismiss on comity grounds because he found that enforcement of the

Divorce Certificate would violate Azhar’s due process rights. However, these rulings

were made prior to the Pakistan Supreme Court order dismissing Azhar’s writ of

petition. Judge Woolridge, the final presiding judge, considered the jurisdictional

issue after the Pakistan Supreme Court issued its order and it determined that the

Pakistan Supreme Court’s ruling was deserving of comity.

      Under these circumstances, we cannot conclude that the trial court abused its

discretion in granting comity to the Supreme Court of Pakistan’s order and

dismissing Azhar’s petition for divorce brought under Family Code Chapter 6 for

lack of jurisdiction. See Ashfaq, 467 S.W.3d at 544 (concluding trial court lacked

jurisdiction because parties had divorced before filing for divorce in Texas);

Fidalgo, 2003 WL 21982186, at *3 (holding trial court lacked subject matter

jurisdiction where previous divorce action had been filed in Mexico that resulted in

issuance of divorce decree).

      We overrule Azhar’s first issue.




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                              Property Division Claims

      In her second issue, Azhar contends that the trial court abused its discretion in

dismissing her claims for a post-dissolution division of assets under Texas Family

Code Chapter 9.5 She argues that the trial court erred in applying Pakistani law to

determine Texas community property rights and division, and that Texas law

governs this case. In response, Choudhri argues that Azhar failed to address the trial

court’s findings of fact and conclusions of law regarding her property division

claims, that the court’s findings are supported by the evidence, and that it correctly

determined the law.

A.    Findings of Fact and Conclusions of Law

      The trial court made the following findings of fact and conclusions of law

related to Azhar’s property division claims:

      FINDINGS OF FACT:
                                               ....

      11. Based on the evidence admitted, the Court finds that:

5
      Azhar does not argue in her opening brief on appeal that the trial court erred in
      dismissing her alternative claim for partition under Texas Property Code Chapter
      23. Having failed to do so, she has not preserved the issue for our review. See El
      Paso Healthcare Sys., Ltd. v. Murphy, 518 S.W.3d 412, 420 (Tex. 2017) (“El Paso
      Healthcare has not challenged that finding here or in the court of appeals. Its failure
      to do so prevents us from reversing the trial court’s judgment on this ground.” (citing
      Pat Baker Co. v. Wilson, 971 S.W.2d 447, 450 (Tex. 1998) (“It is axiomatic that an
      appellate court cannot reverse a trial court’s judgment absent properly assigned
      error.”))); Cook v. Broussard, No. 01-19-00483-CV, 2020 WL 1917841, at *4 n.4
      (Tex. App.—Houston [1st Dist.] Apr. 21, 2020, pet. denied) (mem. op.) (concluding
      defendant’s failure in his brief to include challenge to expert’s qualifications
      precluded consideration of issue on appeal).
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    a. Azhar filed claims in the courts of Pakistan that had the
    jurisdiction to consider her Omitted Asset Claims.

    b. Azhar did not pursue her Omitted Asset Claims in the Pakistan
    courts although she had the right to do so and although the
    Pakistan courts had the jurisdiction to consider those claims.

                              ....

    e. Pakistan, like U.S. courts, follows principles of res judicata
    and collateral estoppel.

    f. Pakistan’s law of res judicata and its corollary rules bar claim
    splitting. A party may not pursue some claims arising out of a
    transaction or occurrence to conclusion and then later bring other
    claims arising out of the same transaction or occurrence.

    g. Azhar was obligated to bring all claims against Choudhri or be
    barred from asserting omitted claims in subsequent proceedings.

    h. Azhar could have pursued, but did not, her Omitted Asset
    Claims in the proceedings she initiated in Pakistan. She could not
    properly split her claims. The final adjudication by the Pakistan
    Supreme Court bars the Omitted Asset Claims.

    i. Additionally, Azhar commenced and then dismissed causes of
    action in Pakistan trial courts. The order dismissing those claims
    did not reserve the claims.

    j. The law of Pakistan provides that the dismissal of a claim
    without reservation amounts to a dismissal of claims asserted (or
    which could have been asserted) with prejudice.

    k. The Lahore High Court in Pakistan expressly addressed the
    effect of Azhar’s filing of claims and dismissal without
    reservation, noting that the dismissal effectively barred her
    subsequent claims arising out of the marriage and the Pakistan
    Divorce.



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          1. The Pakistan Supreme Court affirmed the Lahore High Court
          judgment.

          m. Azhar is bound by the rulings of the Lahore High Court and
          the Pakistan Supreme Court and this Court is bound by those
          rulings as well.

      CONCLUSIONS OF LAW:
                                         ....

      3. The Pakistan courts had jurisdiction to consider and decide Azhar’s
      Omitted Asset Claims but Azhar did not assert those claims.

      4. Azhar’s dismissal of claims in Pakistan was with prejudice as to
      claims asserted or which could have been asserted including the
      Omitted Asset Claims. This Court concludes that the dismissal with
      prejudice bars the Omitted Asset Claims in this Court.

      5. Pakistan’s law barring claim splitting bars Azhar’s Omitted Asset
      Claims because of the final decision in the Pakistan Supreme Court.
      This Court concludes that res judicata principles bar the Omitted Asset
      Claims in the courts of Pakistan and that the same effect should be given
      those proceedings in this Court.

B.    Analysis

      In her brief on appeal, Azhar argues that “there is no jurisdiction or power in

Pakistan to divide the community property assets that are located here in Texas and

which are the subject of these post-dissolution claims under Chapter 9.” She

contends that the trial court abused its discretion in dismissing her property division

claims because the court based its dismissal on Pakistani law, holding that Pakistani

law applied and that res judicata should apply, although she never sought or obtained

a division of assets in Pakistan. Azhar asserts “[t]hat was a mistake of law and the


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dismissal was an abuse of discretion, too.” We construe these arguments to

sufficiently challenge the trial court’s Conclusions of Law Nos. 3 and 5. See City of

Pasadena v. Gennedy, 125 S.W.3d 687, 691 (Tex. App.—Houston [1st Dist.] 2003,

pet. denied) (construing appellant’s challenges, which failed to specify trial court’s

findings and conclusions being challenged, as challenges to pertinent findings and

conclusions supporting complained-of aspects of judgment); see also Teal Trading

& Dev., 534 S.W.3d at 582 (“[A] challenge to an unidentified finding of fact may be

sufficient if the reviewing court—after giving consideration to the number of

findings, the nature of the case, and the underlying elements of the applicable legal

theories—can fairly determine from the argument the specific finding being

challenged.”); see also Tittizer v. Union Gas Corp., 171 S.W.3d 857, 863 (Tex.

2005) (per curiam) (“[A]n appellate court should consider the parties’ arguments

supporting each point of error and not merely the wording of the points.”).

      Azhar, however, does not challenge in her appellate brief the trial court’s

Conclusion of Law No. 4: “Azhar’s dismissal of claims in Pakistan was with

prejudice as to claims asserted or which could have been asserted including the

Omitted Asset Claims. This Court concludes that the dismissal with prejudice bars

the Omitted Asset Claims in this Court.” When a separate independent ground that

supports a judgment is not challenged on appeal, we must affirm the trial court’s

judgment. See Nobility Homes of Tex., Inc. v. Shivers, 557 S.W.2d 77, 83 (Tex. 1977)


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(concluding appellant’s failure to challenge separate and independent ground of

recovery for negligence required judgment to be affirmed); Midway Nat’l Bank v.

W. Tex. Wholesale Supply Co., 453 S.W.2d 460, 461 (Tex. 1970) (per curiam)

(affirming judgment where appellant failed to attack independent legal conclusion

that “fully supported” judgment); Carrington Mortg. Servs., LLC v. Hutto, No. 14-

15-00442-CV, 2017 WL 592120, at *4 (Tex. App.—Houston [14th Dist.] Feb. 14,

2017, pet. denied) (mem. op.) (“Because the Bank Parties have not presented

argument in their opening brief challenging each independent basis for the trial

court’s ruling that they were not entitled to foreclosure based on the facts presented,

we overrule the second and third issues.”); Marshall v. Harris Cnty. Mun. Util. Dist.

No. 358, No. 01-07-00910, 2011 WL 286167, at *5 (Tex. App.—Houston [1st Dist.]

Jan. 20, 2011, pet. denied) (mem. op.) (upholding trial court’s determination that

municipal district had authority to condemn appellant’s property under Interlocal

Cooperation Contract Act where appellant failed to challenge pertinent legal

conclusions and factual findings); Britton, 95 S.W.3d at 682 (stating appellate court

will overrule challenge “when more than one legal conclusion independently

supports a judgment or ruling, but the appellant challenges only one of those legal

conclusions on appeal” (citing Midway Nat’l Bank, 453 S.W.2d at 460–61)); see also

Pyramid Constructors, Inc. v. Action Bonded Cleaning, Inc., No. 09-01-341-CV,

2002 WL 413492, at *1 (Tex. App.—Beaumont Mar. 14, 2002, no pet.) (per curiam)


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(not designated for publication) (“[S]hould a judgment rest upon more than one

ground, the party aggrieved by the judgment must assign error as to each such ground

or risk having the judgment affirmed on the ground to which no error was assigned.”

(citing Midway Nat’l Bank, 452 S.W.2d at 460)). Because Azhar does not challenge

Conclusion of Law No. 4, and this conclusion fully supports the trial court’s

judgment, we need not determine the correctness of the trial court’s other

conclusions. See Midway Nat’l Bank, 452 S.W.2d at 461; see also Pyramid, 2002

WL 413492, at *1 (concluding that where appellant did not attack trial court’s

conclusion that appellee was entitled to recover under alternate theory of quantum

meruit, it was unnecessary to address merits of challenge to other theory of

recovery). Accordingly, we overrule Azhar’s second issue.6

                                      Conclusion

      We affirm the trial court’s final judgment.


6
      Choudhri raises a “cross-point” in which he argues that in the event “Azhar is
      granted any relief in this appeal,” this Court should render judgment ordering a
      disgorgement or judgment of $330,000.00 against Azhar for the temporary support
      and interim payments awarded to her under Chapter 6 during the pendency of the
      case. In light of our disposition, Choudhri’s cross-point is moot. See Olivares v.
      Mares, 390 S.W.3d 608, 622 (Tex. App.—Dallas 2012, no pet.) (concluding
      subcontractor’s cross-points on appeal were moot where cross-points were
      specifically conditioned on appeals court finding that trial court’s reduction of
      award was error, but court affirmed trial court’s reduction); In re Estate of Clifton,
      No. 13-11-00462-CV, 2012 WL 3139864, at *8 n.9 (Tex. App.—Corpus Christi–
      Edinburg Aug.2, 2012, no pet.) (mem. op.) (concluding defendant’s “cross-point”
      that was conditioned on appellate court’s reversal of trial court’s judgment
      notwithstanding the verdict was “moot” where appellate court concluded trial
      court’s judgment was not erroneous).
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                                                         Amparo Guerra
                                                         Justice

Panel consists of Chief Justice Adams and Justices Farris and Guerra.




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